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STATE OF MICHIGAN )
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, , )
Courity of Tuscola ) _

I, ICRISTA M. WELCH, first being duly sworn and states that if called upon to testify in this matter I

would testify as follows, to- wit:
1. I am a 41- -year old citizen of the United States and tender- this information voluntarily, and without

external intluence. _

2. Iwas- present during plea negotiations and have fust-hand'knowledge of the plea agreement
regarding the State of Michigan vs. Eric Dexter Welch, Houghton County circuit Court File No: 07 ~2225-FH
Further that these negotiations were conducted both in Mr. Mark A Wisti' s office and m the _Court House

f 3. 'Ihat at the time I was married to Eric Welch and we considered options that were being offered __by
the prosecutors office _

4. Tha't it is my recollection that the Michigan State Police and the Prosecuting Attorney informed Eric
and I during these meetings (in total) that if he dropped the “enn~apment" defense, and pled guilty to the two
felony charges they were offering, the State Police (Tom Raj ala and whoever he worked With officially or in a
t professional relationship status) and the Prosecudng Attorney would not seek any additional charges, state or '
federal This included handing any evidence over from the 2007 investigation to the Fe_deral government

5. That it is further my recollection that l had no reason to believe that all the necessary permissions to
craft such a plea were not obtained l was in Mr. Wisti‘ s office in 2007 when we (Eric and I) were told about the
plea and_I_ never would have stigge_ste__d that route it we had any reason to_ doubt i_t, as Mr __W_isti had someone
~ from either the prosecutor' s office and/or governmental law enforcement on the phone while we discussed it.

6. That it is further my recollection and affirmative statement that Eric has been a committed husband

father, and engineer who has not only avoided all criminal conduct since 2007 but has become a real asset to our

society. _ t ,_
7. That it is further my recollection that Torn Rajala was present at each and every court date which

made him fully aware of the plea agreement

Further deponent saith not. ~ `
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KR[STA M WELCH

 

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)ss.
Cou)ity of Tuscola 4 y ' )

. O'n this z day of ga § g ij ' ,,2011 before me a Notary Pub_lic' in and for said County,
personally appeared the above-named KRISTA M WELCH and made oath that she has read the foregoing

_Affidavit by herself subscribed and knows the contents thereof and that the same is fine of her own knowledge _

: except as to those matters therin stated to be on her information and belief and as to those matters she believes it
to be true.

 

__Q “<“/ ' _ County, Michigan_

noting in ma 1141 ~’~'l` f County, Michigan

_ My commission expires: w

Barbara A_. Minnick
Notary Pub||c- $tate oI Michlgan
County of Bay

' My Commlss|on Expires Dacaml'ier 2012
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